              Case: 4:21-mj-03008-NCC Doc. #: 1 Filed: 02/17/21 Page: 1 of 18 PageID #: 1
AO I 06 (Rev. 06/09)      Application for a Search Warrant

                                  UNITED STATES DISTRICT COURT
                                                                          for the
                                                                Eastern District of Missouri

                lnthc Mattcrofthc ca rchof                                         )
fN THE MATTER OF A APPLI CAT IO OF THE UNITED                                      )
STATES OF AMERI CA FOR A WARRANT TO OBTA I 1                                       )          4:2 1 MJ 3008 CC
LOCATIO       fNFORMA T IO , INCLUDI G PREC ISIO                                   )          FIL ED UN DER SEAL
LOCATION        INFORMATION;      SUBSCRIBER A D                                   )
TRANSA CTIONAL RECORDS; CELL SITE I FOR.MATJO ;                                    )     SIGNED AND SUMB ITTED TO THE COURT FOR
AND FOR A PE         REGISTER A D TRAP A D TRACE                                   )     FILING RELIABLE ELECTRO 11C MEA S
DEV ICES FOR PH O E UMBER (3 14) 489-4714.                                         )
(See Attachment A.)                                                                )



                                        APPLICATION FOR A SEARCH WARRANT

    I,    Matthew Tesreau       , a federal law enforcement officer or an attorney for the government request a
search warrant and state under penalty of perjury that I have reason to believe that on the fol lowing property:

                                                                       See Attachment A

located in the_D istrict of ----'-''-"e.. :.;wc..:J: . .:e:. :.r.:e.:es ::.;y'----· there is now concealed

                                                                       See Attachment B

The bas is for the searc h under Fed. R. C rim. P. 4 l(c) is (check one or more):
                             evidence of a crime;
                             contraba nd , fruits of crime, or o ther items illegal ly possessed;
                             property designed fo r use, intended for use, or used in committing a crime;
                    XX       a person to be arrested o r a person who is unlawfu lly restrained.

The searc h is related to a v iolation o f:
                Code Section                                                                           Offense Description
     Title       Sectio n
     21          841 (a)                                                                        Possession with intent to distribute fentanyl
     18          924(c)                                                                         Possession of a firearm in furtherance of a crime
     18          922(g)( I)                                                                     Felon in possessio n of a fiream,

             The application is based on these facts:

                    SEE ATTACHED AFFIDAVIT WHICH I I CORPORATED HEREI BY REFERE CE.

                         ✓     Continued on the attached sheet.
                         D     Delayed notice of _ _ days (give exact end ing date if more than 30 days: ____, is
                       requested under 18 U.S.C. § 3 103a, the basis of which is set forth on the attached sheet.
 I state under the penalty of perjury that the fo regoing is true and correct. \                      _     ',            ~
                                                                                                  1       11

                                                                                            ~ 3~ -                  Applicant's signarure
                                                                                                      USMS TFO MATTHEW TESREAU
                                                                                                                    Printed name and rirle
 Sworn to, attested to, and affirmed before me v ia reliable electroni c means pursuant to Federal Rules of Criminal Procedure 4. 1 and 41.


 Date:           February 17. 202 1
                                                                                                             Judge's signature
                                                                                       Honorable Noelle C. Collins U.S. Magistrate Judge
 City and State:           St. Louis. Missouri                                                               Printed name and title
                                                                                               AUSA:            JASO      DUNKEL
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                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF MISSOURI
                                      EASTERN DIVISION

 IN THE MATTER OF AN APPLICATION                    )
 OF THE UNITED STATES OF AMERICA                    )
 FOR A WARRANT TO OBTAIN                            )      No. 4:21 MJ 3008 NCC
 LOCATION INFORMATION, INCLUDING                    )
 PRECISION LOCATION INFORMATION;                    )
 SUBSCRIBER AND TRANSACTIONAL                       )         FILED UNDER SEAL
 RECORDS; CELL SITE INFORMATION;                    )
 AND FOR A PEN REGISTER AND TRAP                    ) SIGNED AND SUMBITTED TO THE COURT FOR
 AND TRACE DEVICES FOR PHONE                        ) FILING RELIABLE ELECTRONIC MEANS
 NUMBER (314) 489-4714.                             )
                                                    )

                                          AFFIDAVIT

       I, Matthew Tesreau, being first duly sworn, hereby depose and state as follows:

                         INTRODUCTION AND AGENT BACKGROUND

       1.      I make this affidavit in support of an application for a warrant and order pursuant

to Rule 41 and 18 U.S.C. §§ 2703(a), 2703(b)(1)(A) and 2703(c)(1)(A) for information associated

with a cellular telephone (314) 489-4714 (hereinafter referred to as the “subject cellular

telephone”) to require T-Mobile (hereinafter “the Provider”), and/or any service providers

reflected in Attachment A, to include providers of any type of wire and/or electronic

communications, and any other applicable service providers, to disclose to the United States

location information, including precision location information, transactional and subscriber data

and cell site location information, and the installation and use of other pen register and trap and

trace devices associated with the subject cellular telephone, as described in Attachment B to the

requested warrant and order.

       2.      I am a Task Force Officer with the United States Marshals Service, and have been

since January 2020. As such, I am charged with enforcing all laws in the jurisdiction of the United
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States, its territories and possessions. My current duty assignment is in the Eastern District of

Missouri. My primary duty and assignment obligate me to investigate, locate, and apprehend State

and Federal fugitives. I have been employed as a Task Force Officer for over a year and currently

employed with the Saint Louis Police Department for (15) years as a sworn police officer.

       3.      The facts in this affidavit come from my personal observations, my training and

experience, and information obtained from other agents and witnesses. This affidavit is intended

to show merely that there is sufficient probable cause for the requested warrant and does not set

forth all of my knowledge about this matter.

       4.      The present affidavit is being submitted in connection with an application of the

United States for a warrant and order authorizing agents/officers of the investigative agency(ies),

and other authorized federal/state/local law enforcement agencies, to obtain location information,

including precision location information, cell site location information, and other signaling

information, including pen register information, in an effort to locate and monitor the location of

the subject cellular telephone.

       5.      The United States Marshals Service has probable cause to believe that the subject

cellular telephone is currently being used by LAWRENCE BURTON who is charged with

possessing with intent to distribute fentanyl, in violation of Title 21, United States Code,

Section 841(a), possessing a firearm in furtherance of a drug trafficking crime, in violation of Title

18, United States Code, Section 924(c), and possessing a firearm as a previously convicted felon

in violation of Title 18, United States Code, Section 922(g)(1), in Case No. 4:21-CR-00053-RWS-

SPM, and whose whereabouts are currently unknown.




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                    BACKGROUND CONCERNING WIRELESS PROVIDERS

       6.      Based on my knowledge, training, and experience, as well as information provided

by investigators with specialized experience relating to cellular telephone technology, I am aware

of the following facts and considerations:

       a.      Wireless phone providers typically generate and retain certain transactional

information about the use of each telephone call, voicemail, and text message on their system.

Such information can include log files and messaging logs showing all activity on a particular

account, such as local and long distance telephone connection records, records of session times

and durations, lists of all incoming and outgoing telephone numbers or other addressing

information associated with particular telephone calls, voicemail messages, and text or multimedia

messages.

       b.      Wireless phone providers also typically generate and retain information about the

location in which a particular communication was transmitted or received. For example, when a

cellular device is used to make or receive a call, text message or other communication, the wireless

phone provider will typically generate and maintain a record of which cell tower(s) was/were used

to process that contact. Wireless providers maintain information, including the corresponding cell

towers (i.e., tower covering specific geographic areas), sectors (i.e., faces of the towers), and other

signaling data as part of their regularly conducted business activities. Typically, wireless providers

maintain records of the cell tower information associated with the beginning and end of a call.

       c.      Because cellular devices generally attempt to communicate with the closest cell

tower available, cell site location information from a wireless phone provider allows investigators

to identify an approximate geographic location from which a communication with a particular

cellular device originated or was received.
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        d.     Wireless providers may also retain text messaging logs that include specific

information about text and multimedia messages sent or received from the account, such as the

dates and times of the messages. A provider may also retain information about which cellular

handset or device was associated with the account when the messages were sent or received. The

provider could have this information because each cellular device has one or more unique

identifiers embedded inside it. Depending upon the cellular network and the device, the embedded

unique identifiers for a cellular device could take several different forms, including an Electronic

Serial Number (“ESN”), a Mobile Electronic Identity Number (“MEIN”), a Mobile Identification

Number (“MIN”), a Subscriber Identity Module (“SIM”), an International Mobile Subscriber

Identifier (“IMSI”), a Mobile Subscriber Integrated Services Digital Network Number

(“MSISDN”), or an International Mobile Station Equipment Identity (“IMEI”).         When a cellular

device connects to a cellular antenna or tower, it reveals its embedded unique identifiers to the

cellular antenna or tower in order to obtain service, and the cellular antenna or tower records those

identifiers.

        e.     Wireless providers also maintain business records and subscriber information for

particular accounts. This information could include the subscriber’s full name and address, the

address to which any equipment was shipped, the date on which the account was opened, the length

of service, the types of service utilized, the ESN or other unique identifier for the cellular device

associated with the account, the subscriber’s Social Security Number and date of birth, all

telephone numbers and other identifiers associated with the account, and a description of the

services available to the account subscriber. In addition, wireless providers typically generate and

retain billing records for each account, which may show all billable calls (including outgoing digits

dialed). The providers may also have payment information for the account, including the dates
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and times of payments and the means and source of payment (including any credit card or bank

account number).

       f.      Providers of cellular telephone service also typically have technical capabilities that

allow them to collect and generate more precise location information than that provided by cell

site location records. This information is sometimes referred to as E-911 phase II data, GPS data

or latitude-longitude data. In the Eastern District of Missouri, such information is often referred

to as precision location information or PLI data. E-911 Phase II data provides relatively precise

location information about the cellular telephone itself, either via GPS tracking technology built

into the phone or by attempting to triangulate the device’s signal using data from several of the

provider’s cell towers. Depending on the capabilities of the particular phone and provider, E-911

data can sometimes provide precise information related to the location of a cellular device.

       g.      In order to locate the subject cellular telephone and monitor the movements of the

phone, the investigative agency(ies), and other authorized federal/state/local law enforcement

agencies, may need to employ one or more techniques described in this affidavit and in the

application of the United States.        The investigative agency(ies), and other authorized

federal/state/local law enforcement agencies, may seek a warrant to compel the Provider, any

telecommunication service providers reflected in Attachment A to the requested Warrant and

Order, to include providers of any type of wire and/or electronic communications (herein

incorporated by reference), and any other applicable service providers, to provide precision

location information, including Global Position System information (if available), transactional

records, including cell site location information, and pen register and trap and trace data.




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                          INVESTIGATION AND PROBABLE CAUSE

       7.         The United States, including the United States Marshals Service, is conducting a

criminal investigation of LAWRENCE BURTON in order to apprehend him pursuant to a federal

arrest warrant.

       8.         On January 27, 2021, Lawrence BURTON was federally indicted in the Eastern

District of Missouri for the three counts stated above in Paragraph 5. His case is pending before

this Court in Case Number 4:21-CR-00053-RWS-SPM. The charges in the indictment arise out

of conduct on October 30, 2020, when BURTON was arrested while possessing a firearm and

fentanyl.

       9.         On February 2, 2021, I was assigned the case on BURTON and responsible for his

apprehension. During my investigation, I conducted several computer inquiries and learned

BURTON’s home address to be a house on Vista Pointe Dr., located in Spanish Lake, Missouri.

This address was the address he provided to police during his October 30, 2020, arrest. The search

of computer databases also indicated he was currently employed at TNT Crust, located in Saint

Charles. On February 4, 2021, Deputy United States Marshals and members of the Metropolitan

Fugitive Task Force responded to Burton’s home address, in an arrest attempt. Upon arrival, I

spoke with the owner, identified as M.M., who stated BURTON is her nephew but hasn’t seen him

for several months or knowns where he lives. M.M. indicated BURTON hasn’t been seen or heard

from and believes he is currently staying with an unknown female.

       10.        I responded to BURTON’s place of employment and spoke with the general

manager at TNT Crust. I was advised BURTON had been terminated in December 2020 and I

was told BURTON’s current cellular phone number was (314) 489-4714. A computer inquiry into

the cellular number revealed it to be currently registered with T-Mobile as of 2005. A computer
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check using the app “Cash App” also revealed the cellular number to be registered to Lawrence

BURTON aka “$slapG10.”

                                        CONCLUSION

       11.     Based on the above information, there is probable cause to believe that the subject

cellular telephone is being used by LAWRENCE BURTON, who is charged with possessing with

intent to distribute fentanyl, in violation of Title 21, United States Code, Section 841(a),

possessing a firearm in furtherance of a drug trafficking crime, in violation of Title 18, United

States Code, Section 924(c), and possessing a firearm as a previously convicted felon in violation

of Title 18, United States Code, Section 922(g)(1), in Case No. 4:21-CR-00053-RWS-SPM, and

whose whereabouts are currently unknown. There is likewise probable cause to conclude that the

location information described in Attachment B will assist law enforcement in locating and

monitoring the movements of the subject cellular telephone and will lead to the location and arrest

of LAWRENCE BURTON.

       12.     None of the investigative techniques that may be employed as a result of the present

application and affidavit require a physical intrusion into a private space or a physical trespass.

Electronic surveillance techniques such as pen register and cell site location monitoring typically

have not been limited to daytime use only. Furthermore, the criminal conduct being investigated

is not limited to the daytime. Therefore, the fact that the present application requests a warrant

based on probable cause should not limit the use of the requested investigative techniques to

daytime use only.        Accordingly, the investigative agency(ies), and other authorized

federal/state/local law enforcement agencies, request the ability to employ these investigative

techniques at any time, day or night.



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        13.       T he monitoring of the location of the subject cellular te lephone by one of the

methods described herein will begin w ithin ten ( I 0) days of the date of issuance of the requested

Warrant and Order.




~~t~~:: the penalcy of perjury that tl\e foregoing ~ ~ ~

DATE ~        '                                       Matthew T esreau
                                                      Task Force Officer
                                                      U nited States Marsha ls Service




Sworn to, attested to and affirmed before me via reliable e lectronic means pursuant to Federal
Rules of Crimina l Procedure 4 .1 and 4 1 on February _ _, 202 1.




                                                      The Honorable Noel le C. Co llins
                                                      UNITED STAT ES MAGISTRATE nJDGE
                                                      Eastern D istrict of M issouri




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                                     ATTACHMENT A
                                     4:21 MJ 3008 NCC
       The United States has submitted an application pursuant to 18 U.S.C. §§ 2703(c)(1)(A) &

B, (c)(2), and 3122 and Federal Rule of Criminal Procedure 41 requesting that the Court issue a

Warrant and Order requiring a telecommunications service provider reflected in Part II of this

Attachment A, to disclose the records and other information concerning the account described in

Part I of this Attachment A.

       I.      The Account(s)

       The Order applies to certain records and information associated with the following:

 Provider       Number or identifier             Owner, if known       Subject of investigation,
 Name                                                                  if known
 T-Mobile       (314) 489-4714                   LAWRENCE              LAWRENCE BURTON
                (the subject cellular            BURTON
                telephone)

       II.     The Provider

       Records and information associated with the subject cellular telephone that is within the

possession, custody, or control of T-Mobile, and other applicable service providers reflected on

the list contained in this Attachment A, including information about the location of the subject

cellular telephone if it is subsequently assigned a different call number.




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                                 LIST OF TELECOMMUNICATION SERVICE PROVIDERS

01 Communications                      Egyptian Telephone                Mid-Atlantic                 Socket Telecom
Access Line Communication              Electric Lightwave, Inc.          Midvale Telephone Exchange   Spectrum
ACN, Inc.                              Empire Paging                     Mobile Communications        Sprint
ACS                                    Ernest Communications             Mound Bayou Telephone Co.    SRT Wireless
Aero Communications, Inc. (IL)         EZ Talk Communications            Mpower Communications        Star Telephone Company
Afford A Phone                         FDN Communications                Navigator                    Start Wireless
Airvoice Wireless                      Fibernit Comm                       Telecommunications         Sugar Land Telephone
Alaska Communications                  Florida Cell Service              NE Nebraska Telephone        Sure West Telephone Company
Alhambra-Grantfx Telephone             Florida Digital Network           Netlink Comm                 Talk America
Altice USA                             Focal Communications              Network Services             Tele Touch Comm
AmeriTel                               Frontier Communications           Neustar                      Telecorp Comm
AOL Corp.                              FuzeBox, Inc.                     Neutral Tandem               Telepak
Arch Communication                     Gabriel Comm                      Nex-Tech Wireless            Telispire PCS
AT&T                                   Galaxy Paging                     Nexus Communications         Telnet Worldwide
AT&T Mobility                          Global Communications             NII Comm                     Tex-Link Comm
Bell Aliant                            Global Eyes Communications        North Central Telephone      Time Warner Cable
Big River Telephone                    Global Naps                       North State Comm             T-Mobile
Birch Telecom                          Grafton Telephone Company         Northcoast Communications    Total Call International
Blackberry Corporation                 Grand River                       Novacom                      Tracfone Wireless
Brivia Communications                  Grande Comm                       Ntera                        Trinity International
Broadview Networks                     Great Plains Telephone            NTS Communications           U-Mobile
Broadvox Ltd.                          Harrisonville Telephone Co.       Oklahoma City SMSA           United Telephone of MO
Budget Prepay                          Heartland Communications          ONE Communications           United Wireless
Bulls Eye Telecom                      Hickory Telephone                 ONSTAR                       US Cellular
Call Wave                              Huxley Communications             Optel Texas Telecom          US Communications
Cbeyond Inc.                           iBasis                            Orion Electronics            US LEC
CCPR Services                          IDT Corporation                   PacBell                      US Link
Cellco Partnership,                    Illinois Valley Cellular          PacWest Telecom              US West Communications
 d/b/a Verizon Wireless                Insight Phone                     PAETEC Communications        USA Mobility
Cellular One                           Integra                           Page Plus Communications     VarTec Telecommunications
Cellular South                         Iowa Wireless                     Page Mart, Inc.              Verisign
Centennial Communications              IQ Telecom                        Page Net Paging              Verizon Telephone Company
CenturyLink                            J2 Global Communications          Panhandle Telephone          Verizon Wireless
Charter Communications                 Leap Wireless International       Peerless Network             Viaero Wireless
Chickasaw Telephone                    Level 3 Communications            Pineland Telephone           Virgin Mobile
Choctaw Telephone Company              Locus Communications              PhoneTech                    Vonage Holdings
Cimco Comm                             Logix Communications              PhoneTel                     Wabash Telephone
Cincinnati Bell                        Longlines Wireless                Preferred Telephone          Wave2Wave Communications
Cinergy Communications                 Los Angeles Cellular              Priority Communications      Weblink Wireless
Clear World Communication              Lunar Wireless                    Puretalk                     Western Wireless
Com-Cast Cable Comm.                   Madison River                     RCN Telecom                  Westlink Communications
Commercial Communications                Communications                  RNK Telecom                  WhatsApp
Consolidated Communications            Madison/Macoupin Telephone        QWEST Communications         Windstream Communications
Cox Communications                       Company                         Sage Telecom                 Wirefly
Cricket Wireless                       Mankato Citizens Telephone        Seren Innovations            XFinity
Custer Telephone Cooperative           Map Mobile Comm                   Shentel                      XO Communications
DBS Communications                     Marathon Comm                     Sigecom LLC                  Xspedius
Delta Communications                   Mark Twain Rural                  Sky Tel Paging               Yakdin Valley Telephone
Detroit Cellular                       Max-Tel Communications            Smart Beep Paging            YMAX Communications
Dobson Cellular                        Metro PCS                         Smart City Telecom           Ztel Communications 1
                                       Metro Teleconnect




         1   Last Update: 03/17/2019


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                                      ATTACHMENT B
                                      4:21 MJ 3008 NCC
       It is hereby ordered, pursuant to 18 U.S.C. §§ 2703(c)(1)(A) &(B), (c)(2) and 3123 and

Federal Rule of Criminal Procedure 41, that the Provider(s) identified in Attachment A shall

disclose to the United States the following:

I.     PRECISION LOCATION INFORMATION

       A.      Information to be Disclosed by the Provider

       All information for the following time period of forty-five days from the date of this

Warrant and Order, that is for the time period from February 17, 2021, to April 2, 2021, 11:59 p.m.

(CT) during all times of day and night, regarding the location of the subject cellular telephone

described in Attachment A.

       “Information about the location of the subject cellular telephone” includes all available E-

911 Phase II data, GPS data, latitude-longitude data, and other precision location information, as

well as all data about which “cell towers” (i.e., antenna towers covering specific geographic areas)

and “sectors” (i.e., faces of the towers) received a radio signal from the cellular telephone described

in Attachment A.

       To the extent that the information described in the previous paragraph (hereinafter,

“Location Information”) is within the possession, custody, or control of the Provider, the Provider

is required to disclose the Location Information to the investigative agency(ies).

       B.      Information to Be Seized by the United States

       All information described above in Part I, Section A that will assist in arresting

LAWRENCE BURTON, who was charged with violating, on October 30, 2020: Title 21, United

States Code, Section 841(a); Title 18, United States Code, Section 924(c); and Title 18, United




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States Code, Section 922(g)(1); is the subject of an arrest warrant issued on January 27, 2021, and

is a “person to be arrested” within the meaning of Federal Rule of Criminal Procedure 41(c)(4).

II.    CELL TOWER RECORDS AND OTHER TELECOMMUNICATION DATA

       For the subject cellular telephone identified in Attachment A, the following

telecommunication records and information, but not the contents of any communication for the

past thirty (30) days from the date of this Warrant and Order and at reasonable intervals for up to

forty-five (45) days from the date of this Warrant and Order, the following:

       Information to be Disclosed by the Provider

               1.      All available names, addresses, and identifying information, and other

subscriber and service feature information and types of service utilized;

               2.      Length of service;

               3.      All telephone numbers, Electronic Serial Number (“ESN”), a Mobile

Electronic Identity Number (“MEIN”), a Mobile Identification Number (“MIN”), a Subscriber

Identity Module (“SIM”), an International Mobile Subscriber Identifier (“IMSI”), a Mobile

Subscriber Integrated Services Digital Network Number (“MSISDN”), or an International Mobile

Station Equipment Identity (“IMEI”) numbers, including any and all customer service records,

credit and billing records, can-be-reached numbers (CBR), enhanced custom calling features, and

primary long-distance carrier;

               4.      Subscriber information available for any originating telephone number;

               5.      Automated Messaging Accounting (AMA) records (a carrier billing

mechanism data base search which provides records of originating and terminating caller

information for calls to the subject cellular telephone) for the above-specified time period;



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               6.      Means and source of payment for services, including any credit card or bank

account number, and air-time summaries for available service periods, for the IP (internet protocol)

addresses being utilized by and signaled to and from the aforementioned subject cellular telephone;

               7.      Cellular telephone records and information pertaining to the following, for

the above-specified time period:

                       (a)    call detail information such as (provided in an electronic format

specified by the agents/officers of the investigative agency(ies), and other authorized

federal/state/local law enforcement agencies);

                       (b)    cell site activation information, including information identifying

the antenna tower receiving transmissions from the subject cellular telephone number, and any

information on what portion of that tower is receiving a transmission from the subject cellular

telephone number, at the beginning and end of a particular telephone call made to or received by

the subject cellular telephone number;

                       (c)    numbers dialed;

                       (d)    call duration;

                       (e)    incoming numbers if identified;

                       (f)    signaling information pertaining to that number;

                       (g)    a listing of all control channels and their corresponding cell sites;

                       (h)    an engineering map showing all cell site tower locations, sectors and

                              orientations;

                       (i)    subscriber information, including the names, addresses, credit and

                              billing information, published and non-published for the telephone

                              numbers being dialed from the subject cellular telephone;

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                        (j)     historical location estimates and range to tower information, such as

                                Network Event Location System (NELOS), round-trip time (RTT),

                                GPS, and per-call measurement data (PCMD), True Call; and,

                        (k)    Internet Protocol (IP addresses) utilized by and signaled to and from

                                the subject cellular telephone.

III.   PEN REGISTERS AND TRAP AND TRACE DEVICES

       For the subject cellular telephone identified in Attachment A for a period of forty-five (45)

days from the date of this Warrant and Order, the following:

       1.       Pursuant to Title 18, United States Code, Section 3123, pen register and trap and

trace devices, including enhanced caller identification, may be installed by the investigative

agency(ies) and used to record or decode dialing, routing, addressing, or signaling information,

and to capture the incoming electronic or other impulses, which identify the originating number or

other dialing, routing, addressing and signaling information reasonably likely to identify the source

of a wire or electronic communication to and from the subject cellular telephone number, including

the direct connect, Voice-over-LTE (VoLTE), non-content data transmissions, or digital dispatch

dialings (if applicable), the dates and times of such dialings, and the length of time of the

connections, pertaining to the subject cellular telephone described in Attachment A., including the

date, time, and duration of the communication, and the following, without geographic limit,

including:

             a. IP addresses associated with the cell phone device or devices used to send or receive

                electronic communications;

             b. Any unique identifiers associated with the cell phone device or devices used to

                make and receive calls with cell phone number described in Attachment A, or to

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               send or receive other electronic communications, including the ESN, MEIN, IMSI,

               IMEI, SIM, MSISDN, or MIN;

            c. IP addresses of any websites or other servers to which the subject cellular telephone

               connected;

            d. Source and destination telephone numbers and email addresses;

            e. “Post-cut-through dialed digits,” which are digits dialed after the initial call set up

               is completed, subject to the limitations of 18 U.S.C. § 3121(c).

       2.      The Provider, and/or any telecommunications service providers reflected in

Attachment A, to include providers of any type of wire and/or electronic communications, and any

other applicable service providers, shall initiate caller identification on the subject cellular

telephone identified in Attachment A, without the knowledge of or notification to the subscriber,

for the purpose of registering incoming telephone numbers

       3.      The Providers reflected in Attachment A, to include providers of any type of wire

and/or electronic communications, and any other applicable service providers, shall furnish the

agents/officers of the investigative agency(ies), and other authorized federal/state/local law

enforcement agencies, forthwith all information, facilities, and technical assistance necessary to

accomplish the installation and use of the pen register and trap and trace devices, including

enhanced caller identification, unobtrusively and with minimum interference to the services that

are accorded persons with respect to whom the installation and use is to take place.

       4.      The Providers reflected in Attachment A, to include providers of any type of wire

and/or electronic communications, and any other applicable telecommunications service

providers, shall provide the agents/officers of the investigative agency(ies), and other authorized

federal/state/local law enforcement agencies, with the results of the pen register and trap and trace

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devices, including enhanced caller identification, at reasonable intervals for the duration of this

Warrant and Order.

       5.      Should the subject cellular telephone identified in Attachment A and/or ESN, MIN,

IMEI, MSID or IMSI number listed above be changed by the subscriber during the effective period

of this Order, the request for pen register and trap and trace devices, including enhanced caller

identification, shall remain in effect for any new telephone to which the subject cellular telephone

listed above is changed throughout the effective period of these Warrants and Orders.

       6.      The Providers reflected in Attachment A, to include providers of any type of wire

and/or electronic communications, and any other applicable service providers, shall be provided

compensation by the lead investigative agency for reasonable expenses incurred in providing

technical assistance.

       7.      Pursuant to Title 18, United States Code, Sections 3123(d)(1) and (2), the Provider,

and the service providers reflected in Attachment A, to include providers of any type of wire and/or

electronic communications, and any other applicable service providers, shall not disclose the

existence of this application and/or any warrant or order issued upon this application, or the

existence of the investigation, for a period of one year from the date of this Order to a subscriber

or lessee or to any other person, except that the provider may disclose the warrant to an attorney

for the provider for the purpose of receiving legal advice.

       This Warrant and Order does not authorize interception of any communications as defined

in Title 18, United States Code, Section 2510(4), but authorizes only the disclosure of signaling

information, including cell site information, precision location information, including GPS

information, related to the subject cellular telephone.



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       The investigative agency(ies), and other authorized federal/state/local law enforcement

agencies, to whom this Warrant and Order is directed will begin monitoring the location of the

subject cellular telephone by one of the methods described in this Warrant within ten (10) days of

the date of this Warrant and Order.




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